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                  EXHIBIT 4
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                                      AS ADOPTED BY THE MENOMINEE CITY COUNCIL
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                                        MARIHUANAORDINANCE NO. ___________



                                                MARIJUANA ESTABLISHMENTS



XX.01AN ORDINANCE TO AMEND CHAPTERS 11 AND ____ OF THE CODE OF THE CITY OF
MENOMINEE BY REPEALING CHAPTER 11 AND CHAPTER ____ AND BY ADDING A NEW CHAPTER
____ MARIJUANA ESTABLISHMENTS.

The city of Menominee hereby ordains:

Section 1. That Chapter 11 and Chapter ___ of the Code of the City of Menominee be repealed.

Section 2. That a new Chapter ____ be added to the Code of the City of Menominee to read as follows.

[Chapter ____/Sec. 1.] LEGISLATIVE INTENT AND DEFINITIONS

The city intendsfinds that it is in the public interest to issue permits for and regulateallow the permitting of
state-licensed marijuana facilities and marijuana establishments to the extent they are permitted under the
Michigan Medical MarihuanaMarijuana Facilities Licensing Act and the Michigan Regulation and Taxation of
MarihuanaMarijuana Act. The city does not intend that permitting and regulation under this chapter be
construed as a finding that such facilities comply with any law. By requiring a permit and compliance with the
requirements of this chapter, the city intends to protect the public health, safety, and welfare.

Words and phrases contained in the Michigan Medical MarihuanaMarijuana Facilities Licensing Act, MCL
33327101 et seq., the Medical MarihuanaMarijuana Act, MCL 333.26421 et seq., the Michigan Regulation
and Taxation of MarihuanaMarijuana Act, MCL 333.27951 et seq. (collectively hereafter, the “Act”), and the
rules or emergency rules promulgated pursuant to any of these acts, shall have the same meanings in this
chapter.

For purposes of the requirements for obtaining a permit under this chapter, the terms "facility" and
"marihuanamarijuana facility" are intended to include both a "marihuanamarijuana facility" as defined in the
MMFLA and a "marihuanamarijuana establishment" as defined in the MRTMA.

“City” shall mean the City of Menominee

“City Council” shall mean the City of Menominee City Council.

“City Clerk” shall mean the City of Menominee Clerk.

“City Manager” shall mean the City Manager of the City of Menominee or the City Manager’s designee.


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“Designated consumption establishment” means a commercial space licensed by the state to permit adults
21 years of age and older to consume marijuana products at the location indicated in the license.

“Facility” means a "marihuanamarijuana facility" as defined in the MMFLA and a "marihuanamarijuana
establishment" as defined in the MRTMA.

“Grower” means a person who cultivates and sells marijuana to other facilities, as permitted by the MMFLA
and the MRTMA, which includes all of the following:

           Class A grower, which is a maximum of 500 plants under the MMFLA and 100 plants under the
           MRTMA.

           Class B grower, which is a maximum of 1,000 plants under the MMFLA and 500 plants under the
           MRTMA.

           Class C grower, which is a maximum of 1,500 plants under the MMFLA and 2,000 plants under the
           MRTMA.

“LARA” shall mean the Michigan Department of Licensing and Regulatory Affairs.

“Marijuana means” marihuanamarijuana as defined in the MMFLA and as defined in the MRTMA.

“Marijuana event organizer” means a person licensed to apply for a temporary marihuanamarijuana event
license under these rules.

“Medical MarihuanaMarijuana Facilities Licensing Act or MMFLA” means the Michigan Medical
MarihuanaMarijuana Facilities Licensing Act, MCL 333.27101 et seq., and the rules or emergency rules
promulgated pursuant to the MMFLA.

“Michigan Medical MarihuanaMarijuana Act or MMMA” means the Michigan Medical MarihuanaMarijuana
Act, MCL 333.26421 et seq., and the rules or emergency rules promulgated pursuant to the MMMA.

“Michigan Regulation and Taxation of MarihuanaMarijuana Act or MRTMA” means the Michigan Regulation
and Taxation of MarihuanaMarijuana Act, MCL 333.27951 et seq., and the rules or emergency rules
promulgated pursuant to the MRTMA.

“Marijuana microbusiness” means a business that cultivates not more than 150 plants; processes and
packages it; and sells it to individuals who are 21 years of age or older or to a safety compliance facility but
not to other businesses.

“Permittee” means a person holding a city permit under this chapter.

“Person” means the entities included in the definition of "person" in the MMFLA and the MRTMA.



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“Processor” means a person who operates as a "processor" as defined in the MMFLA or a
"marihuanamarijuana processor" as defined in the MRTMA or as both at the same location under common
ownership.

“Provisioning center/retailer” means a person who operates as a "provisioning center" as defined in the
MMFLA or as a "marihuanamarijuana retailer" as defined in the MRTMA or as both at the same location
under common ownership.

“Safety compliance facility” means a person who operates as a "safety compliance facility" as defined in the
MMFLA or a "marihuanamarijuana safety compliance facility" as defined in the MRTMA or as both at the
same location under common ownership.

“Secure transporter” means a person who operates as a "secure transporter" as defined in the MMFLA or a
"marihuanamarijuana secure transporter" as defined in the MRTMA or as both at the same location under
common ownership.

“Selection Committee” means the three-person committee comprised of administrative officers of the City of
Menominee assigned by the City Manager subject to approval of the City Council.

“State license” means a valid state operating license issued under the MMFLA or a valid state license issued
under the MRTMA or both.

“Temporary marijuana event” means a license held by a marijuana event organizer for an event where the
onsite sale or consumption of marihuanamarijuana products, or both, are authorized at the location indicated
on the state license during the dates indicated on the state license.

“Zoning Ordinance” means the City of Menominee Zoning Ordinance.

XX.02.[Chapter ____/Sec. 1.] AUTHORIZATION OF MARIHUANAMARIJUANA ESTABLISHMENTS AND
FEE

A.       The City hereby authorizes, subject to the issuance of a municipal license by the City Clerk, the
following marihuanamarijuana establishments within the boundaries of the City, as are authorized pursuant
to the Michigan Medical MarihuanaMarijuana Facilities Licensing Act, MCL 333.27101 et seq., and the rules
or emergency rules promulgated pursuant to the MMFLA, and the Michigan Regulation and Taxation of
MarihuanaMarijuana Act, MCL 333.27951 et seq., and the rules or emergency rules promulgated pursuant
to the MRTMA.

B.         The marihuanamarijuana establishments and the number authorized pursuant to this Ordinance are:
           Grower permits
                      MMFLA .......................................     4Unlimited
                      MRTMA .................................... 4Unlimited


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           Processor permits
                      MMFLA .......................................      4Unlimited
                      MRTMA .................................... 4Unlimited
           Secure transporter permits ...................... 2Unlimited
           Sales
                      Provisioning center ..................... 2Unlimited
                      Retailer .......................................          2Unlimited
           Safety compliance facility permits ............ 2 Unlimited
           Marijuana microbusiness permits ............ 0


           Designated consumption
           establishment permits .............................. 0
           Marijuana event organizer ....................... 0


C.       A nonrefundable license application fee shall be paid by each marihuana establishment applying to
be licensed under this ordinance in the amount of $1,500.00 and the annual fee for each marihuana
establishment license shall be in the amount of $5,000.00. The application fee and marihuana establishment
license fee are in addition to any other fees required, including, but not limited to, zoning fees.

D.       Should the City grant a marihuana establishment a municipal license, the marihuana establishment
license fee shall be considered as the fee imposed for the first year the license is granted. Prior to the
expiration of the first year of the license, and as provided in this Ordinance in Section XXX, the licensee may
apply for an extension/renewal of the municipal license for an additional one year period at a nonrefundable
application fee of $1,500.00 and should the City grant the extension/renewal of the municipal license, the
license shall become effective upon payment of the annual marihuana establishment fee of $5,000.00 which
shall be due within 5 days of the granting of the renewal/extension by the City. The City may adjust the
amount of the application and license fees by resolution of the City Council. The purpose of the marihuana
establishment license fee is to defray the administrative and enforcement costs of the City associated with
the operation of the licensed marihuana establishment.

XX[Chapter ____/Sec.03] APPLICATION REQUIREMENTS AND PROCEDURE FOR ISSUING
MUNICIPAL LICENSE

A.       No person shall operate a marihuanamarijuana establishment in the City without a valid municipal
license issued by the City pursuant to the provisions of this ordinance.




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B.     NoB. If the marijuana establishment is to be located in an area that requires a Special Use Permit,
no person shall be issued a municipal license by the City without first having obtained from the City of
Menominee Planning Commission a Special Use Permit authorizing the operation of the establishment
pursuant to the City of Menominee Zoning Ordinance.

C.       No person who is a member of the Menominee City Council or a person who is employed by the
City, acts as a consultant for the City or acts as an advisorshall be licensed to the City, and is involved in the
implementation, administrationown or enforcement of this Ordinance, shall have an interest, directly or
indirectly, in a Marihuanaoperate a Marijuana Establishment.

D.       Every applicant for a municipal license to operate a marihuanamarijuana establishment shall file an
application in the City Clerk’s office upon a form providedapproved by the City. which may be amended by
the City from time to time. The application shall include:

           1.     The appropriate nonrefundable municipal license application fee and initial year annual
           MarihuanaMarijuana establishment fee in the amounts determined by the City from time to time;

           2.       If the applicant is an individual, the applicant’s name; date of birth; Social Security number;
           physical address, including residential and any business address; copy of government-issued photo
           identification; email address; one or more phone numbers, includingand emergency contact
           information;

           3.      If the applicant is not an individual, the names; dates of birth; physical addresses, including
           residential and any business address; copycopies of government-issued photo identifications; email
           addressaddresses; and one or more phone numbers of each Stakeholder of the applicant, including
           the designation of the highest ranking representative as an emergency contact person; contact
           information for the emergency contact person; articles of incorporation or organization; assumed
           name registration; Internal Revenue Service EIN confirmation letter; copy of the operating agreement
           of the applicant, if a limited liability company; copy of the partnership agreement, if a partnership;
           names and addresses of the beneficiaries, if a trust, or a copy of the bylaws or shareholder
           agreement, if a corporation;

           4.         The name and address of the proposed marihuanamarijuana establishment location;

           5.      A copy of the Special Use Permit issued by the City of Menominee Planning Commission if
           the Zoning of the proposed location requires a special use permit;

           6.       A location area map of the marihuanamarijuana establishment and surrounding area that
           identifies the relative locations and the distances (closest property line to the subject
           marihuanamarijuana establishment’s building) to the closest real property comprising a public or
           private elementary, vocational, or secondary school, and/or state licensed recovery or rehabilitation
           center;


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           7.       A signed acknowledgment that the applicant is aware and understands that all matters
           related to marihuanamarijuana growing, cultivation, possession, testing, safety compliance, and
           transporting, are currently subject to state and federal laws, rules, and regulations, and that the
           approval or granting of a license hereunder does not exonerate or exculpate the applicant from
           abiding by the provisions and requirements and penalties associated with those laws, rules, and
           regulations, or exposure to any penalties associated therewith; and further, the applicant waives and
           forever releases any claim, demand, action, legal redress, or recourse against the City, its elected
           and appointed officials, and its employees and agents for any claims, damages, liabilities, causes of
           action, damages, or attorney fees that the applicant may incur as a result of the violation by the
           applicant, its Stakeholders and agents of those laws, rules, and regulations; and.


           8.      The Act in Section 9.4 (MCL 333.27959(4) requires that the City establish a competitive
           process to select applicants who are best suited to operate in compliance with the Act and this
           Ordinance, when the City receives more applications than the number of available licenses.
           Pursuant to this requirement the City requires that applicants submit the following which will be
           scored using the applicable scoring rubrics:

                      1.     An estimate of the number and type of jobs that the marihuana establishment is
                      expected to create and the amount and type of compensation expected to be paid for such
                      jobs;

                      2.         A business plan which contains, but is not limited to, the following:

                                 i.     The applicant’s experience in operating other similarly permitted or licensed
                                 businesses and the applicant’s general business management experience;

                                 ii.     The proposed ownership structure of the establishment, including
                                 percentage ownership of each person or entity;

                                 iii.   A current organizational chart that includes position descriptions and the
                                 names of each person holding each position;

                                 iv.       Planned tangible capital investment in the City, including if multiple permits
                                 are proposed, an explanation of the economic benefits to the City and job creation,
                                 if any, to be achieved through the award of such multiple permits, with supporting
                                 factual data;

                                 v.         Expected job creation from the proposed marihuana establishment(s);

                                 vi.      If a Marihuana Grower Establishment is proposed, the number of plants
                                 anticipated


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                                 vii.    Financial structure and financing of the proposed marihuana
                                 establishment(s); and;

                                 viii.      Community outreach/education plans and strategies.

                      3.       A written description of the training and education that the Applicant will provide to
                      all employees, including planned continuing education for existing employees. Further, a
                      written description of the method(s) for record retention of all training provided to existing
                      and former employees;

                      4.        A location area map of the marihuana facility and surrounding area that identifies
                      the relative locations and the distances (closest property line to the subject marihuana
                      facility’s building) to the closest real property comprising a public or private elementary,
                      vocational or secondary school; and church or religious institution, if recognized as a tax-
                      exempt entity by the City Assessor’s Office; and

                      5.      A facility sanitation plan to protect against any marihuana being ingested by any
                      person or animal, indicating how the waste will be stored and disposed of, and how any
                      marihuana will be rendered unusable upon disposal. Disposal by on-site burning or
                      introduction into the sewerage system is prohibited.

                      6.        A description of the anticipated area impact including the proximity of the
                      establishment(s) to properties zoned or used residentially; and plans for litter control,
                      loitering, neighborhood outreach, noise mitigation, odor mitigation, resident safety, and
                      traffic mitigation.

                      7.         Blight mitigation.

           9.         Any other information which may be required by the City Clerk from time to time.


E.       Upon an applicant’s completion of the above-described form and furnishing of all required
information, documentation, and fees, the City Clerk shall file the same and assign it a sequential application
number by establishment type based on the date and time of acceptance. Initial applications shall commence
on the sixtieth (60th) day following enactment of this ordinance and shall continue for a period of ninety (90)
days (the “Initial Application Period)”. At the expiration of the Initial Application Period, the, the City Clerk
shall compile a list of each applicant for each available license type. All of the applications shall be submitted
to the Selection Committee for review and completion of scoring rubric(s). Each application shall be scored
and the City Clerk shall prepare a list that identifies each application and the corresponding total of the
applicable individual scoring rubric. The scoring under this section shall be completed within 21-days of the
expiration of the Initial Application Period.


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G.       The City Manager shall forward the results of the individual scores to the City Council Subcommittee
on Judicial & Legislative / Personnel & Labor, together with a recommendation for the issuance of each
marihuana establishment license. The City Council Subcommittee on Judicial & Legislative / Personnel &
Labor shall make a recommendation for approval, denial, or approval with conditions, to the City Council and
the City Council shall have the discretion to either approve or deny each individual license application at the
next regularly schedule Regular Meeting of the City Council following receipt of the recommendation of the
City Council Subcommittee on Judicial & Legislative / Personnel & Labor to the City Council.

H.      The City Clerk shall issue the applicant or applicants approved by the City Council a provisional
license and subsequently a final license after issuance by the State of Michigan of an operating license.

I.       Maintaining a valid license issued by the state is a condition for the maintenance of a license under
this ordinance and continued operation of a marihuana establishment. A provisional license does not
authorize operations until a final license is issued, which will only occur upon issuance of the appropriate
license by the state of Michigan and the issuance of a Certificate of Occupancy.

J.      A License issued under this ordinance is not transferable without the prior approval of the City
Council under the same terms and conditions required for the initial issuance of a license under this
Ordinance.

K.       Marihuana Establishments issued Licenses by the City shall be fully operational within one hundred
eighty (180) days following the date the License is issued. Failure to be fully operational within one hundred
eighty (180) days following the date the License is issued shall be grounds for the revocation of the License.
If a Licensee is unable to be fully operational within one hundred eighty (180) days following the date the
License is issued, the Licensee may submit a request for a one-time extension to the City Manager and the
City Manager shall forward said request to the City Council subcommittee on Judicial & Legislative /
Personnel and Labor for consideration at its next scheduled committee meeting following the City Manager’s
receipt of the extension request. The City Council subcommittee on Judicial & Legislative / Personnel and
Labor shall forward a recommendation for approval or denial of the requested extension to the City Council
for action at the City Council’s next Regular Meeting.

XX.[Chapter ____/Sec. 04]  MINIMUM   OPERATIONAL      STANDARDS                                 FOR       ALL
MARIHUANAMARIJUANA ESTABLISHMENTS WITHIN THE CITY OF MENOMINEE

The following minimum standards shall apply to all MarihuanaMarijuana Establishments within the City:

A.      MarihuanaMarijuana Establishments shall comply at all times and in all circumstances with the Act,
and applicable Michigan law, and the general rules of the Department of Licensing and Regulatory Affairs,
as they may be amended from time to time. It is the responsibility of the owner to be aware of changes in the
Act. The City bears no responsibility for the failure of the owner to be unaware of changes in the Act.



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B.         Consumption and/or use of marihuanamarijuana shall be prohibited at the establishment.

C.       The establishment shall be open, during regular business hours, to any representative of LARA, state
police officer, or City of Menominee Police Officer, or other officialofficials of the City of Menominee, and said
individual(s) may enter the premises, offices, Establishments, or other places of business of a Licensee, for
the following purposes:

           1.         To inspect and examine all premises of MarihuanaMarijuana Establishments;

           2.      To inspect, examine, and audit relevant records of the Licensee and, if the Licensee or any
           employee fails to cooperate with an investigation, impound, seize, assume physical control of, or
           summarily remove from the premises all books, ledgers, documents, writings, photocopies,
           correspondence, records, and videotapes, including electronically stored records, money
           receptacles, or equipment in which the records are stored; and

           3.         To investigate alleged violations of the Act, this ordinance, and applicable Michigan law.

D.       The marihuanamarijuana establishment shall be continuously monitored with a surveillance system
that includes security cameras. The video recordings shall be maintained in a secure, offsite location for a
period of fourteen (14thirty (30) days and be available upon request of the City of Menominee Police
Department.

E.       The marihuanamarijuana establishment shall secure every entrance to the establishment and only
permit those individuals described in this Ordinance or the Act access to the premises.

F.      The marihuanamarijuana establishment shall be maintained and operated so as to comply with all
state and local rules, regulations, and ordinances. All MarihuanaMarijuana Establishments shall comply with
applicable requirements of the Zoning Ordinance, including obtaining and maintaining a Special Use License.

G.         All marihuanamarijuana shall be contained within an enclosed, secure area.

H.       All necessary building, electrical, plumbing, and mechanical permits shall be obtained for any portion
of the structure in which electrical wiring, lighting, and/or watering devices that support the Grower, growing
or harvesting of marihuanamarijuana are located and occupancy shall be contingent upon the issuance of a
final occupancy permit.

I.      All persons working in direct contact with marihuanamarijuana shall conform to acceptable hygienic
practices while on duty, including, but not limited to:.


           1.         Maintaining adequate personal cleanliness;




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           2.       Washing hands thoroughly in adequate hand-washing areas before starting work and at any
           other time when their hands may have become soiled or contaminated; and

           3.       Refraining from having direct contact with marihuana if the person has or may have an
           illness, open lesion, including boils, sores or infected wounds, or any other abnormal source of
           microbial contamination, until the condition is corrected.

J.      Litter and waste shall be properly removed and the operating systems for waste disposal shall be
maintained in an adequate manner so that they do not constitute a source of contamination.

K.     Floors, walls and ceilings shall be constructed in such a manner that they may be adequately cleaned
and kept clean and in good repair.

L.      There shall be adequate screening or other protection against the entry of pests. Rubbish shall be
disposed of so as to minimize the development of odor and minimize the potential for the waste development
of odor and minimize the potential for waste becoming an attractant, harborage or breeding place for pests.

M.         All building fixtures and other Establishments shall be maintained in a sanitary condition.

N. J. Odor from operations shall be controlled as provided in the Zoning Ordinance and as may be required
under the Special Use License issued to the Licensee.


XX.[Chapter ____/Sec. 05] MINIMUM OPERATIONAL STANDARDS FOR MARIHUANAMARIJUANA
GROWER ESTABLISHMENTS

The following minimum standards for Grower Establishments shall apply.

A.     Grower Establishments shall maintain a log book and/or database indicating the number of
MarihuanaMarijuana Plants therein.

B.      A Stakeholder in a Grower Establishment shall not hold an ownership interest, directly or indirectly,
in more than two (2) MarihuanaMarijuana Grower Establishments.

C.     The establishment shall be subject to inspection by the City of Menominee Fire Department, City of
Menominee Building Inspector, City of Menominee Code Enforcement Officer, and City of Menominee Police
Department, to ensure compliance with all applicable statutes, codes and ordinances.

D.       Multiple Grower Establishment Licenses in a single location shall be permitted, subject to approval
of the same by the City Clerk.




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XX.[Chapter ____/Sec. 06] MINIMUM OPERATIONAL STANDARDS FOR SAFETY COMPLIANCE
ESTABLISHMENTS

The following minimum standards for Safety Compliance Establishments shall apply.

A.      Safety Compliance Establishments shall maintain a log book and/or database which complies with
the Act or applicable Michigan law.

B.      There shall be no other accessory uses permitted within the same establishment other than those
associated with testing marihuanamarijuana.

C.       A Stakeholder in a Safety Compliance Establishment shall not hold an ownership interest, directly or
indirectly, in a Grower, Processor, Retailer or Microbusiness Establishment.


XX.[Chapter ____/Sec. 07] MINIMUM OPERATIONAL STANDARDS OF MARIHUANAMARIJUANA
PROCESSOR ESTABLISHMENTS

The following minimum standards for Processor Establishments shall apply.

A.         All Activity related to the Processor Establishment shall occur indoors.

B.      Processor Establishments shall maintain a log book and/or database which complies with the Act or
other applicable state laws.

C.         All marihuanamarijuana shall be tagged as required by the Act or applicable state laws.

D.      That structure shall be subject to inspection at any time by the City of Menominee Fire Department
to ensure compliance with all applicable statutes, codes and ordinances.

E.      Processor Establishments shall produce no products other than useable marihuanamarijuana
intended for human consumption.


XX.[Chapter ____/Sec. 08] MINIMUM OPERATIONAL STANDARDS FOR SECURE TRANSPORTER
ESTABLISHMENTS

The following minimum standards for Secure Transporter Establishments shall apply.

A.       Secure Transporters and each Secure Transporter Stakeholder shall not hold an ownership interest,
directly or indirectly, in a Grower, Processor, Retailer or Microbusiness Establishment.

B.       A Secure Transporter shall enter all transactions, current inventory, and other information as required
by the state into the statewide monitoring system.


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C.         A Secure Transporter shall comply with all of the following:

           1.     Each driver transporting marihuanamarijuana shall have a chauffeur's license issued by the
           state;

           2.     Each employee who has custody of marihuanamarijuana or money that is related to a
           marihuanamarijuana transaction shall not have been convicted of delivery of a controlled substance;

           3.       Each vehicle shall be operated with a two-person crew with at least one individual remaining
           with the vehicle at all times during the transportation of marihuanamarijuana;

           4.      The marihuanamarijuana shall be transported by one or more sealed containers and shall
           not be accessible while in transit; and

           5.     A secure transporting vehicle shall not bear markings or other indication that it is carrying
           marihuanamarijuana or a marihuanamarijuana infused product.

D.       A vehicle used by a Secure Transporter is subject to administrative inspection by a law enforcement
officer at any point during the transportation of marihuanamarijuana to determine compliance with all state
and local laws, rules, regulations and ordinances.


XX.[Chapter ____/Sec. 09] MINIMUM OPERATIONAL STANDARDS FOR MARIHUANAMARIJUANA
PROVISIONING CENTERS AND RETAILERS

The following minimum standards for MarihuanaMarijuana Provisioning Centers and Retailers shall apply.

A.       The Establishment shall not sell edible marihuanamarijuana-infused candy in shapes or packages
that are attractive to children or that are easily confused with commercially sold candy that does not contain
marihuanamarijuana.

B.      The Establishment shall not sell or otherwise transfer marihuanamarijuana that is not contained in
an opaque, resealable, child-resistant package designed to be significantly difficult for children under 5 years
of age to open and not difficult for normal adults to use property as defined by 16 C.F.R. 1700.20 (1995),
unless the marihuanamarijuana is transferred for consumption on the premises where sold.

C.     MarihuanaMarijuana Retailers and their agents shall ensure that all purchasers of
marihuanamarijuana are over 21 years of age.

D.      MarihuanaMarijuana Provisioning Centers and their agents shall ensure that all purchases of
marihuanamarijuana are by persons who are issued and possess a valid card issued under the rules
governing the Michigan Medical MarihuanaMarijuana Program. If a Provisioning Center is located in the




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same building as a MarihuanaMarijuana Retailer, access to the MarihuanaMarijuana Retailer area of the
building must be strictly limited to persons who are over 21 years of age.


XX.11[Chapter ____/Sec. 11] LOCATION OF GROWER ESTABLISHMENT, SAFETY COMPLIANCE
ESTABLISHMENT,      PROCESSOR      ESTABLISHMENT,  AND   SECURE    TRANSPORTER
ESTABLISHMENT

A.       All Grower Establishments, Safety Compliance Establishments, Processor Establishments,
Microbusiness Establishments, and Secure Transporter Establishments shall only operate and be located
within the permitted areas as provided for in the Zoning Ordinance.

B.     Multiple Establishment Licenses at a single location shall be permitted subject to the review and
approval by the City Clerk and subject to the requirements of the state of Michigan.


XX.[Chapter ____/Sec. 12] DENIAL AND REVOCATION

A.      A License issued under this Ordinance may be revoked after an administrative hearing at whichif the
City ClerkManager determines that grounds for revocation under this Ordinance exist. NoticeThe City shall
place the Licensee on notice of the time and place of thea hearing and the grounds for revocation must be
given to the holder of a License at least five days prior to the date of the hearing, by first class mail to the
address given on the license application; a licensee whose license is the subject of such hearing may present
evidence and/or call witnesses at the hearing.


B.      AB.     Subject to the notice and hearing provisions in this section, a License applied for or issued
under this Ordinance may be denied or revoked on any of the following basis:

           1.         Any violation of this Ordinance;

           2.         Any conviction of delivery of a controlled substance to a minor;

           3.      City ClerkManager finding of fraud, misrepresentation, or the making of a false material
           statement by the Applicant or any stakeholder of the Applicant while engaging in any Activity for
           which this Ordinance requires a License or in connection with the Application for a License or request
           to renew a License;

           4.      Sufficient evidence that the Licensee lacks, or has failed to demonstrate, the requisite
           professionalism and/or business experience required to assure strict adherence to this ordinance,
           and the rules and regulations governing the Act;




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           5.      The License holder or any of its Stakeholders is in default to the City personally or in
           connection with any business in which they hold an ownership interest, for failure to pay property
           taxes, special assessments, fines, fees, or other financial obligation;

           6.     The marihuanamarijuana establishment is determined by the City to have become a public
           nuisance; or

           7.       LARA The Michigan Cannabis Regulatory Agency of the Michigan Department of
           Licensing and Regulatory Affairs has denied, revoked, or suspended the applicant's state operating
           license.

C.       Should the City Clerk revoke a License, the Licensee shall have fourteen (14) days from the mailing
of the written notice of revocation to appeal the decision to an appeal panel comprised of the City Manager.,
Chief of Police, and Building Inspector. The City Managerappeal panel may require additional information or
Act upon the appeal based uponon the information supplied to the City Clerkappeal panel. Should the City
Managerappeal panel reverse the decision of the City ClerkManager, the City Clerk shall reinstate
theLicensee’s license. shall be automatically reinstated. Should the City Managerappeal panel affirm the
decision of the City Clerk, he/she Manager, the City shall mailsend, by first class mail a, written notice
affirming the decision to the address for the Licensee contained in the City Clerk’s records.

D.       Should the City Managerappeal panel affirm the denial, revocation, or suspension of a License by
the City ClerkManager, the Licensee shall have fourteen (14) days from the mailing of the decision of the
City Manager to appeal the decision to the City Council, by filing with the City Clerk a written notice of appeal.
The City Council shall hear the appeal at its next regularly scheduled meeting, but no sooner than 7 days
from the receipt of the appeal.


E.      Any License that is issued and later revoked or, once issued, denied at renewal, shall be made
available for issuance and the City Clerk shall cause notice of the availability of a revoked or nonrenewed
License to be posted in the same manner as notice of meetings of the City Council. The process in Sec.
XX.03 shall be followed for applying for an available License.

XX.E. A Licensee that is placed on notice that the City is considering revocation of the Licensee’s license
may continue to operate its Marijuana Establishment until the Licensee’s hearing rights are concluded and
the City Council renders its decision following an appeal under Section 12 D herein. Provided, however, that
if the Licensee’s license is suspended or revoked by the Michigan Cannabis Regulatory Agency, the
Licensee’s City issued license will automatically be suspended or revoked.

[Chapter ____/Sec. 13] LICENSE RENEWAL

A.      A License shall be valid for one year from the date of issuance, unless revoked as provided by law,
including this Ordinance.



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B.      A valid License may be renewed on an annual basis by submitting a renewal application upon a form
provided by the City and payment of the annual license fee. Applications to renew a License shall be filed
with the City Clerk at least thirty (30) days prior to the date of its expiration. As long as no changes to the
Licensee have occurred and there is no pending request to revoke or suspend a License, and the Licensee
has paid the License Renewal Fee, the City Clerk shall renew the License.


XX.[Chapter ____/Sec. 14] UNLAWFUL ACTIVITIES

Any act which is a violation of either the MMFLA or the MRTMA, or any amendment thereto, shall also be
considered a violation of this Ordinance. It shall be unlawful to consume marihuanamarijuana in a public
place in the City of Menominee.


XX.[Chapter ____/Sec. 15] APPLICABILITY

The provisions of this Ordinance shall be applicable to all persons and Establishments described herein,
including if the operations or Activities associated with a marihuanamarijuana establishment were established
without authorization before the effective date of this ordinance.



XX.[Chapter ____/Sec. 16] PENALTIES AND ENFORCEMENT

A.         Any person who violates any of the provisions of this Ordinance shall be responsible for a municipal
civil infraction and subject to the payment of a civil fine of $500, plus costs, except that a violation of Section
XX.14MCL 333.12603 (1) by consuming marihuanamarijuana in a public place is a civil infraction and subject
to the payment of a civil fine of up to $100. Each day a violation of this Ordinance continues to exist constitutes
a separate violation. A violator of this Ordinance shall also be subject to such additional sanctions, remedies
and judicial orders as are authorized under Michigan law.

B.      A violation of this Ordinance is deemed to be a nuisance per se. In addition to any other remedy
available at law, the City may bring an Action for an injunction or other process against a Licensee to restrain,
prevent, or abate any violation of this Ordinance.

C.       This Ordinance may be enforced and administered by the City Clerk, any City of Menominee Police
Officer, City Manager, or such other city official as may be designated from time to time by resolution of the
City Council.


XX.[Chapter ____/Sec. 17] SEVERABILITY




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In the event that any one or more sections, provisions, phrases, or words of this Ordinance shall be found to
be invalid by a court of competent jurisdiction, such holding shall not affect the validity or the enforceability
of the remaining sections, provisions, phrases or words of this Ordinance. In the event that amendments are
enacted to MRTMA, MMFLA, or the administrative rules governing marijuana establishments, affect one or
more sections, provisions, phrases, or words of this Ordinance, such amendment shall not affect the validity
or the enforceability of the remaining sections, provisions, phrases or words of this Ordinance.




Drafted by: Michael P. Celello | City Attorney | City of Menominee
